Case 8:21-cv-01018-DOC-JDE Document 51 Filed 10/15/21 Page 1 of 1 Page ID #:606




                        UNITED STATES DISTRICT COURT                         JS-6
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

 Case No: SA CV 21-01018-DOC-(JDEx)                      Date: October 15, 2021

 Title: Tina Barnes v. JPMorgan Chase Bank, N.A. et al



PRESENT: THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

               Karlen Dubon                               Not Present
              Courtroom Clerk                            Court Reporter

      ATTORNEYS PRESENT FOR                      ATTORNEYS PRESENT FOR
            PLAINTIFF:                                DEFENDANT:
           None Present                                None Present


 PROCEEDINGS: (IN CHAMBERS): ORDER DISMISSING CIVIL CASE

        The Court, having been notified by counsel for the parties that this action
 has been settled re Notice of Settlement [50], hereby orders this action
 DISMISSED with prejudice. The Court hereby orders ALL proceedings in the
 case VACATED and taken off calendar. The Court retains jurisdiction for 60 days
 to vacate this order and reopen the action upon showing of good cause that the
 settlement has not been consummated.

       The Clerk shall serve this minute order on the parties.




  MINUTES FORM 11
  CIVIL-GEN                                                      Initials of Deputy Clerk: kdu
